                                      Case 2:17-cv-05075-AB-JPR Document 159 Filed 02/07/19 Page 1 of 6 Page ID #:9631



                                         1 ANDREW P. BRIDGES (CSB No. 122761)
                                           abridges@fenwick.com
                                         2 FENWICK & WEST LLP
                                           801 California Street
                                         3 Mountain View, CA 94041
                                           Telephone: 650.988.8500
                                         4 Facsimile: 650.928.5200
                                         5 JEDEDIAH WAKEFIELD (CSB No. 178058)
                                           jwakefield@fenwick.com
                                         6 TODD R. GREGORIAN (CSB No. 236096)
                                           tgregorian@fenwick.com
                                         7 ERIC B. YOUNG (CSB No. 318754)
                                           eyoung@fenwick.com
                                         8 FENWICK & WEST LLP
                                           555 California Street, 12th Floor
                                         9 San Francisco, CA 94104
                                           Telephone: 415.875.2300
                                        10 Facsimile: 415.281.1350
                                        11 RONALD P. SLATES, SBN: 43712
                                           rslates2@rslateslaw.com
                                        12 RONALD P. SLATES, P.C.
F ENWICK & W ES T LLP




                                           500 South Grand Avenue, Suite 2010
                        LAW




                                        13 Los Angeles, CA 90071
                                           Telephone: 213.624.1515
                         AT
                        ATTO RNEY S




                                        14 Facsimile: 213.624.7536
                                        15 Attorneys for Plaintiffs/Judgment Creditors,
                                           GIGANEWS, INC. and LIVEWIRE
                                        16 SERVICES, INC.
                                        17
                                                                   UNITED STATES DISTRICT COURT
                                        18
                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                        19
                                                                         LOS ANGELES DIVISION
                                        20
                                        21
                                           GIGANEWS, INC., a Texas Corporation;       Case No.: 2:17-cv-05075-AB (JPR)
                                        22 LIVEWIRE SERVICES, INC., a Nevada
                                           Corporation,                               PLAINTIFFS' REQUEST FOR
                                        23                                            JUDICIAL NOTICE
                                                           Plaintiffs,
                                        24                                                Pretrial Conf.:   March 1, 2019
                                                 v.                                       Time:             11:00 a.m.
                                        25                                                Courtroom:        7B
                                           PERFECT 10, INC., a California                 Trial Date:       March 26, 2019
                                        26 Corporation; NORMAN ZADA, in                   Judge:            Hon. André Birotte, Jr.
                                           individual; and DOES 1-50, inclusive,
                                        27
                                                           Defendants.
                                        28
                                              PLAINTIFFS’ REQUEST FOR JUDICIAL
                                              NOTICE                                                             2:17-cv-05075-AB (JPR)
                                             FW/10563412.8
                                      Case 2:17-cv-05075-AB-JPR Document 159 Filed 02/07/19 Page 2 of 6 Page ID #:9632



                                         1           Pursuant to Rule 201(b) and Rule 201(c)(2) of the Federal Rules of Evidence,
                                         2 Plaintiffs Giganews, Inc. and Livewire Services, Inc. (“Plaintiffs”) respectfully
                                         3 request that the Court take judicial notice of certain documents in the public record.
                                         4           Federal Rule of Civil Procedure 201 allows courts to take judicial notice of
                                         5 “adjudicative facts” (e.g. court records, pleadings, etc.) and other facts not subject
                                         6 to reasonable dispute that are either “generally known” in the community, or “can
                                         7 be accurately and readily determined from sources whose accuracy cannot be
                                         8 reasonably questioned.” Fed. R. Evid. 201(a), (b). The Court may also take
                                         9 judicial notice of its own records in other cases. See United States v. Wilson, 631
                                        10 F.2d 118, 119 (9th Cir. 1980). The orders and pleadings listed below were filed in
                                        11 the United States District Court for the Central District of California and the Ninth
                                        12 Circuit Court of Appeals. The fact that the documents were filed, the dates they
F ENWICK & W ES T LLP
                        LAW




                                        13 were filed, and the Court orders they contain (where applicable) are undisputable
                         AT
                        ATTO RNEY S




                                        14 matters of public record.
                                        15           The Court may take judicial notice of a fact for trial on its own or at a party’s
                                        16 request. Fed. R. Evid. 201(c)(1) and (2). The Federal Rules of Evidence permit the
                                        17 Court to determine that a fact is sufficiently undisputed to be judicially noticed.
                                        18 Fed. R. Evid. 201(f). Once the Court takes notice, the Rule requires that the jury be
                                        19 instructed to accept the noticed fact. Fed. R. Evid. 201(f). An instruction regarding
                                        20 judicial notice should be given at the time notice is taken of any of the facts below,
                                        21 and should be to the following effect: “The Court has decided to accept as proved
                                        22 the fact that [state fact]. You must accept this fact as true.” See Model Civil Jury
                                        23 Instructions for the District Courts of the Ninth Circuit (2017 ed.) at 2.3 “Judicial
                                        24 Notice.” Plaintiffs also request the noticed documents be entered in evidence as
                                        25 exhibits.
                                        26           True and correct copies of the documents for which Plaintiffs request judicial
                                        27 notice are attached.
                                        28
                                              PLAINTIFFS’ REQUEST FOR JUDICIAL
                                              NOTICE                                     1                        2:17-cv-05075-AB (JPR)
                                             FW/10563412.8
                                      Case 2:17-cv-05075-AB-JPR Document 159 Filed 02/07/19 Page 3 of 6 Page ID #:9633



                                         1           On October 2, 2013, Perfect 10 filed a complaint in Perfect 10, Inc. v.
                                         2 Radvinksy et al., C.D. Cal. No. 2:13-cv-07279-SVW-E (“Radvinsky”) (Dkt. 1) for
                                         3 copyright and trademark infringement, trademark dilution, and breach of contract.
                                         4 That complaint is attached as Exhibit 1.
                                         5           On November 22, 2013, defendants in Radvinsky filed an answer (Dkt. 12)
                                         6 and counterclaims for attorneys’ fees and costs of suit. That answer is attached as
                                         7 Exhibit 2.
                                         8           On February 2, 2014, Perfect 10 filed a complaint in Perfect 10, Inc. v. Ocom
                                         9 B.V. et al., C.D. Cal. No. 2:14-cv-00808-JFW-VBK (“Ocom”) (Dkt. 1) for
                                        10 copyright infringement. That complaint is attached as Exhibit 3.
                                        11           On May 5, 2014, defendant in Ocom filed an answer to a First Amended
                                        12 Complaint (Dkt. 35), seeking attorneys’ fees and costs under the Copyright Act.
F ENWICK & W ES T LLP
                        LAW




                                        13 That answer is attached as Exhibit 4.
                         AT
                        ATTO RNEY S




                                        14            On July 30, 2014, Perfect 10 filed a complaint in Perfect 10, Inc. v. OVH
                                        15 Groupe et al., C.D. Cal. No. 2:14-cv-05969-AB-SH (“OVH”) (Dkt. 1) for copyright
                                        16 infringement. That complaint is attached as Exhibit 5.
                                        17           On March 8, 2013 the Court entered an Order granting in part and denying in
                                        18 part Giganews and Livewire’s motion to dismiss (Related Dkt. 97). That Order is
                                        19 attached as Exhibit 6.
                                        20           On July 10, 2013, the Court entered an order granting in party and denying in
                                        21 part Giganews and Livewire’s motion to dismiss (Related Dkt. 129). That Order is
                                        22 attached as Exhibit 7.
                                        23           On January 29, 2014, the Court entered an Order denying Perfect 10’s
                                        24 Motion for Summary Judgment (Related Dkt. 180). That Order is attached as
                                        25 Exhibit 8.
                                        26           On March 17, 2014, the Court entered an order granting Giganews’ Motion
                                        27 to Compel Production of Documents (Related Dkt. 223). That Order is attached as
                                        28 Exhibit 9.
                                              PLAINTIFFS’ REQUEST FOR JUDICIAL
                                              NOTICE                                    2                       2:17-cv-05075-AB (JPR)
                                             FW/10563412.8
                                      Case 2:17-cv-05075-AB-JPR Document 159 Filed 02/07/19 Page 4 of 6 Page ID #:9634



                                         1           On April 24, 2014, the Court entered an Order granting in substantial part
                                         2 Giganews and Livewire’s Motion to Compel Responses to Interrogatories and
                                         3 Production of Documents (Related Dkt. 254). That Order is attached as Exhibit 10.
                                         4           On June 5, 2014, the Court entered an Order granting in substantial part
                                         5 Giganews and Livewire’s Motion to Compel discovery responses (Related Dkt.
                                         6 311). That Order is attached as Exhibit 11.
                                         7           On June 5, 2014, the Court entered an Order granting Giganews and
                                         8 Livewire’s Motion to Compel Discovery Compliance from Third-Party Witnesses
                                         9 (Related Dkt. 312). That Order is attached as Exhibit 12.
                                        10           On June 23, 2014, the Court entered an Order granting in substantial part
                                        11 Giganews’ Motion to Compel Responses to Interrogatories (Related Dkt. 326).
                                        12 That Order is attached as Exhibit 13.
F ENWICK & W ES T LLP
                        LAW




                                        13           On July 15, 2014, the Court entered an Order denying Perfect 10’s Motion
                         AT
                        ATTO RNEY S




                                        14 for Sanctions (Related Dkt. 343). That Order is attached as Exhibit 14.
                                        15           On October 31, 2014, the Court entered an Order granting Giganews and
                                        16 Livewire’s Daubert Motion to Exclude Expert Tygar (Related Dkt. 580). That
                                        17 Order is attached as Exhibit 15.
                                        18           On October 31, 2014, the Court entered an Order granting Giganews and
                                        19 Livewire’s Daubert Motion to Exclude Expert Waterman (Related Dkt. 581). That
                                        20 Order is attached as Exhibit 16.
                                        21           On October 31, 2014, the Court entered an Order granting Giganews and
                                        22 Livewire’s Daubert Motion to Exclude Expert Zada (Related Dkt. 582). That
                                        23 Order is attached as Exhibit 17.
                                        24           On November 14, 2014, the Court entered an Order granting Giganews and
                                        25 Livewire’s Motion for Partial Summary Judgment re Direct Copyright Infringement
                                        26 and Denying as Moot Plaintiff’s Motion for Partial Summary Judgment (Related
                                        27 Dkt. 619). A copy of that Order is attached at Exhibit 18.
                                        28           On November 14, 2014, the Court entered an Order granting Giganews and
                                              PLAINTIFFS’ REQUEST FOR JUDICIAL
                                              NOTICE                                    3                      2:17-cv-05075-AB (JPR)
                                             FW/10563412.8
                                      Case 2:17-cv-05075-AB-JPR Document 159 Filed 02/07/19 Page 5 of 6 Page ID #:9635



                                         1 Livewire’s Motion for Partial Summary Judgment re Indirect Copyright
                                         2 Infringement and Denying as Moot Plaintiff’s Motion for Partial Summary
                                         3 Judgment (Related Dkt. 620). That Order is attached as Exhibit 19.
                                         4           On November 14, 2014, the Court entered an Order denying the parties’
                                         5 remaining Motions for Partial Summary Judgment as Moot (Related Dkt. 621).
                                         6 That Order is attached as Exhibit 20.
                                         7           On March 3, 2015, the Court entered an Order denying Perfect 10’s motion
                                         8 for reconsideration of the Court’s Orders granting Giganews and Livewire’s
                                         9 motions for summary judgment on indirect copyright infringement (Related Dkt.
                                        10 682). That Order is attached as Exhibit 21.
                                        11           On December 1, 2014, the Court entered Judgment in favor of Giganews and
                                        12 Livewire (Related Dkt. 628). The Court’s Judgment is attached as Exhibit 22.
F ENWICK & W ES T LLP
                        LAW




                                        13           On February 5, 2015, the Court entered Further Interim Findings re
                         AT
                        ATTO RNEY S




                                        14 Giganews and Livewire’s Motion for Sanctions (Related Dkt. 676). That Order is
                                        15 attached as Exhibit 23.
                                        16           On March 24, 2015, the Court entered an Order granting Giganews and
                                        17 Livewire’s Motion for Attorneys’ Fees and Costs (Related Dkt. 684). That Order is
                                        18 attached as Exhibit 24.
                                        19           On March 24, 2015, the Court entered an order that, “[i]n light of the Order
                                        20 Granting Defendants’ Motion for Attorneys’ Fees and Costs, the Magistrate Judge
                                        21 DENIES the Discovery Sanctions Motion. The Attorneys’ Fees and Costs award
                                        22 subsumes what is sought in the Sanctions Motion. The hearing date is vacated, as
                                        23 is Docket #676” (Related Dkt. 685). That Order is attached as Exhibit 25.
                                        24           On March 24, 2015, the Court entered an Amended Order granting Giganews
                                        25 and Livewire’s Motion for Attorneys’ Fees and Costs (Related Dkt. 686). That
                                        26 Order is attached as Exhibit 26.
                                        27           On May 7, 2015, the Court entered an Order denying Giganews and
                                        28 Livewire’s Motion for Review of the Magistrate’s Order Denying their Motion for
                                              PLAINTIFFS’ REQUEST FOR JUDICIAL
                                              NOTICE                                    4                       2:17-cv-05075-AB (JPR)
                                             FW/10563412.8
                                      Case 2:17-cv-05075-AB-JPR Document 159 Filed 02/07/19 Page 6 of 6 Page ID #:9636



                                         1 Discovery Sanctions (Related Dkt. 712). That Order is attached as Exhibit 27.
                                         2           On January 23, 2017, the Ninth Circuit affirmed the Court’s Orders on
                                         3 summary judgment and the grant of Giganews and Livewire’s attorneys’ fees
                                         4 (Perfect 10, Inc. v. Giganews, Inc., No. 15-55500, Dkt. 110-1). The Circuit’s
                                         5 opinion is attached as Exhibit 28.
                                         6           On July 3, 2017, the Ninth Circuit entered an Order awarding attorneys’ fees
                                         7 and non-taxable costs on appeal to Giganews and Livewire, and it referred to the
                                         8 Appellate Commissioner the determination of an appropriate amount of fees and
                                         9 costs (Perfect 10, Inc. v. Giganews, Inc., No. 15-55500, Dkt. 144). That Order is
                                        10 attached as Exhibit 29. Giganews and Livewire applied for those fees for amounts
                                        11 they expended defending Perfect 10’s appeal of the summary judgment order
                                        12 (Related Dkts. 619 & 620) and the Court’s fee award (Related Dkt. 686).
F ENWICK & W ES T LLP
                        LAW




                                        13           On January 29, 2018, the Ninth Circuit entered an order granting Giganews
                         AT
                        ATTO RNEY S




                                        14 and Livewire’s supplemental motion for additional attorneys’ fees and non-taxable
                                        15 costs (Perfect 10, Inc. v. Giganews, Inc., No. 15-55500, Dkt. 153). That Order is
                                        16 attached as Exhibit 30.
                                        17           On April 24, 2018, the Ninth Circuit entered an Order granting attorneys’
                                        18 fees and non-taxable costs on appeal in the amount of $855,532.72 to Giganews
                                        19 and Livewire (Perfect 10, Inc. v. Giganews, Inc., No. 15-55500, Dkt. 154). That
                                        20 Order is attached as Exhibit 31.
                                        21
                                        22 Dated: February 7, 2019                 FENWICK & WEST LLP

                                        23
                                        24
                                                                                   By: /s/Todd Gregorian
                                        25                                             Todd Gregorian
                                        26                                         Attorneys for Plaintiffs/Judgment Creditors,
                                        27                                         GIGANEWS, INC., and LIVEWIRE
                                                                                   SERVICES, INC.
                                        28
                                              PLAINTIFFS’ REQUEST FOR JUDICIAL
                                              NOTICE                                   5                       2:17-cv-05075-AB (JPR)
                                             FW/10563412.8
